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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7     UNITED STATES OF AMERICA,                         Case No. 14-cv-01509-SK
                                   8                    Plaintiffs,
                                                                                           ORDER ON PENDING MOTIONS TO
                                   9              v.                                       DISMISS
                                  10     SHAW ENVIRONMENTAL &
                                         INFRASTRUCTURE, INC., et al.,                     Regarding Docket Nos. 79, 125
                                  11
                                                        Defendants.
                                  12
Northern District of California
 United States District Court




                                  13          This matter comes before the Court upon consideration of the pending motions to dismiss

                                  14   filed by Defendants Shaw Environmental & Infrastructure, Inc. (“Shaw”), Chicago Bridge & Iron

                                  15   Company N.V. (“Chicago Bridge and Iron”), Aptim Federal Services, LLC, and Aptim

                                  16   Corporation (collectively, “Shaw Defendants”). Having carefully considered the parties’ papers,

                                  17   relevant legal authority, and the record in the case, the Court hereby grants the pending motions

                                  18   for the reasons set forth below.

                                  19                                            BACKGROUND

                                  20          Relator Kevin McLaughlin (“McLaughlin”) first filed this qui tam action against the Shaw

                                  21   Defendants, as well as other defendants, on April 1, 2014. (Dkt. No. 1.) McLaughlin’s initial

                                  22   complaint only alleged fraud under the False Claims Act, 31 U.S.C. §§ 3729-3733, with respect to

                                  23   work performed at the former naval shipyards at Hunters Point. On February 21, 2019,

                                  24   McLaughlin amended his complaint to include allegations regarding the work done at Treasure

                                  25   Island. (Dkt. No. 23.) On February 27, 2020, McLaughlin filed the operative complaint – his

                                  26   Third Amended Complaint (“TAC”). (Dkt. No. 61.)1

                                  27
                                              1
                                  28           The Shaw Defendants request that the Court consider three exhibits as documents as
                                       incorporated into TAC. (Dkt. Nos. 124-3, 124-4, 124-5.) However, while those documents may
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                                   1           This qui tam case was related to a large group of cases brought challenging the work by

                                   2   government contractors to remediate the radiation contamination in the soil at the former naval

                                   3   shipyards at Hunters Point and Treasure Island. This case was separated from the other cases and

                                   4   reassigned to the undersigned on September 8, 2023, with motions to dismiss pending. The Shaw

                                   5   Defendants joined in motions to dismiss filed by other defendants on certain legal grounds and

                                   6   also moved own their own to dismiss the TAC. (Dkt. Nos. 125, 126.) The Shaw Defendants

                                   7   joined in the motion to dismiss on statutory grounds filed by other defendants filed at Docket

                                   8   Number 79. (Dkt. No. 126.) Judge Donato dismissed McLaughlin’s TAC on first-to-file grounds

                                   9   and did not address the other arguments raised. (Dkt. No. 193.) However, Judge Donato then

                                  10   granted McLaughlin’s motion for reconsideration and re-opened McLaughlin’s case. (Dkt. No.

                                  11   205.)

                                  12           The parties agree that the Court should address the arguments raised by the other
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                                  13   defendants regarding the statutory public disclosure bar in Docket Number 79 (which the Shaw

                                  14   Defendants joined through Docket Number 126) and the Shaw Defendants’ motion to dismiss for

                                  15   failure to state a claim in Docket Number 125.

                                  16                                                ANALYSIS

                                  17   A.      Applicable Legal Standard on Motion to Dismiss.
                                  18           A motion to dismiss is proper under Federal Rule of Civil Procedure 12(b)(6) where the

                                  19   pleadings fail to state a claim upon which relief can be granted. On a motion to dismiss under

                                  20   Rule 12(b)(6), the Court construes the allegations in the complaint in the light most favorable to

                                  21   the non-moving party and takes as true all material allegations in the complaint. Sanders v.

                                  22   Kennedy, 794 F.2d 478, 481 (9th Cir. 1986). Even under the liberal pleading standard of Rule

                                  23   8(a)(2), “a plaintiff’s obligation to provide the ‘grounds’ of his ‘entitle[ment] to relief’ requires

                                  24   more than labels and conclusions, and a formulaic recitation of the elements of a cause of action

                                  25   will not do.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007) (citing Papasan v. Allain,

                                  26
                                  27   be relevant to prove the Shaw Defendants’ defenses, the Court finds that they cannot be fairly
                                       considered incorporated into or part of McLaughlin’s TAC. Accordingly, the Court did not
                                  28   consider these documents on the motions to dismiss.

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                                   1   478 U.S. 265, 286 (1986)). Rather, a plaintiff must instead allege “enough facts to state a claim to

                                   2   relief that is plausible on its face.” Id. at 570.

                                   3           “The plausibility standard is not akin to a probability requirement, but it asks for more than

                                   4   a sheer possibility that a defendant has acted unlawfully. . . . When a complaint pleads facts that

                                   5   are merely consistent with a defendant’s liability, it stops short of the line between possibility and

                                   6   plausibility of entitlement to relief.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting

                                   7   Twombly, 550 U.S. at 557) (internal quotation marks omitted). If the allegations are insufficient to

                                   8   state a claim, a court should grant leave to amend, unless amendment would be futile. See, e.g.

                                   9   Reddy v. Litton Indus., Inc., 912 F.2d 291, 296 (9th Cir. 1990); Cook, Perkiss & Lieche, Inc. v. N.

                                  10   Cal. Collection Serv., Inc., 911 F.2d 242, 246-47 (9th Cir. 1990).

                                  11           As a general rule, “a district court may not consider material beyond the pleadings in ruling

                                  12   on a Rule 12(b)(6) motion.” Branch v. Tunnell, 14 F.3d 449, 453 (9th Cir. 1994), overruled on
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                                  13   other grounds, Galbraith v. Cnty. of Santa Clara, 307 F.3d 1119 (9th Cir. 2002) (citation omitted).

                                  14   However, documents subject to judicial notice, such as matters of public record, may be

                                  15   considered on a motion to dismiss. See Harris v. Cnty of Orange, 682 F.3d 1126, 1132 (9th Cir.

                                  16   2011). In doing so, the Court does not convert a motion to dismiss to one for summary judgment.

                                  17   See Mack v. S. Bay Beer Distrib., 798 F.2d 1279, 1282 (9th Cir. 1986), overruled on other

                                  18   grounds by Astoria Fed. Sav. & Loan Ass’n v. Solimino, 501 U.S. 104 (1991). “The court need

                                  19   not . . . accept as true allegations that contradict matters properly subject to judicial notice . . . .”

                                  20   Sprewell v. Golden State Warriors, 266 F. 3d 979, 988 (9th Cir. 2001).

                                  21   B.      Defendants’ Motion to Dismiss.
                                  22           1.      False Claims Act Claim.

                                  23           The False Claims Act imposes civil liability on anyone who “knowingly presents” a

                                  24   “fraudulent claim for payment” to the federal government. 31 U.S.C. § 3729(a)(1)(A); see also

                                  25   United States ex rel. Mateski v. Raytheon Co., 816 F.3d 565, 569 (9th Cir. 2016). The False

                                  26   Claims Act “allows private citizens, referred to as ‘relators,’ to bring fraud claims on the

                                  27   government’s behalf against those who have violated the Act’s prohibitions.” Silbersher v.

                                  28   Valeant Pharms. Int'l, Inc., 89 F.4th 1154, 1158 (9th Cir. 2024) (citing 31 U.S.C. § 3730(b)(1).
                                                                                            3
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                                   1   “If the government declines to proceed, the relator may prosecute the action and, if successful,

                                   2   recover up to thirty percent of the damages. Id. at 1158-59 (citing 31 U.S.C. §§ 3730(b)(4),

                                   3   (d)(2)).

                                   4              Defendants argue that McLaughlin’s claims are barred by the public disclosure defense to

                                   5   the False Claims Act. Alternatively, Defendants argue that McLaughlin fails to allege his claims

                                   6   with sufficient particularity.

                                   7                     i.      Public Disclosure Bar
                                   8              The public disclosure bar reflects “Congress’s effort ‘to encourage suits by whistle-

                                   9   blowers with genuinely valuable information, while discouraging litigation by plaintiffs who have

                                  10   no significant information of their own to contribute.’” Silbersher, 89 F.4th at 1159 (quoting

                                  11   Mateski, 816 F.3d at 570). The public disclosure bar is set out in 31 U.S.C. § 3730(e)(4)(A),

                                  12   which provides:
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                                  13                     The court shall dismiss an action or claim under this section, unless
                                                         opposed by the Government, if substantially the same allegations or
                                  14                     transactions as alleged in the action or claim were publicly disclosed
                                                         --
                                  15
                                                         (i) in a Federal criminal, civil, or administrative hearing in which the
                                  16                     Government or its agent is a party;
                                  17                     (ii) in a congressional, Government Accountability Office, or other
                                                         Federal report, hearing, audit, or investigation; or
                                  18
                                                         (iii) from the news media,
                                  19
                                                         unless the action is brought by the Attorney General or the person
                                  20                     bringing the action is an original source of the information.
                                  21   See 31 U.S.C. § 3730(e)(4)(A). The statute defines “original source” as:

                                  22                     an individual who either (i) prior to a public disclosure under
                                                         subsection (e)(4)(a), has voluntarily disclosed to the Government the
                                  23                     information on which allegations or transactions in a claim are based,
                                                         or (2) who has knowledge that is independent of and materially adds
                                  24                     to the publicly disclosed allegations or transactions, and who has
                                                         voluntarily provided the information to the Government before filing
                                  25                     an action under this section.
                                  26   31 U.S.C.A. § 3730(e)(4)(B).

                                  27              The “public disclosure bar is triggered when: “(1) the disclosure at issue occurred through

                                  28   one of the channels specified in the statute; (2) the disclosure was ‘public’; and (3) the relator’s
                                                                                            4
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                                   1   action is ‘based upon’ the allegations or transactions publicly disclosed.” United States v.

                                   2   Allergan, Inc., 46 F.4th 991, 994 (9th Cir. 2022) (quoting United States ex rel. Solis v. Millennium

                                   3   Pharms., Inc., 885 F.3d 623, 626 (9th Cir. 2018)). Here, the parties do not dispute that the four

                                   4   news articles upon which the Shaw Defendants rely constitute disclosures through a statutorily

                                   5   authorized channel. Nor do they dispute whether the disclosures were public under the statute.

                                   6   Instead, the dispute centers around whether the McLaughlin’s action is based upon the allegations

                                   7   or transactions publicly disclosed and, if so, whether McLaughlin sufficiently alleged whether he

                                   8   is an original source under the statute.

                                   9                            a.      Substantial Similarity.
                                  10           McLaughlin argues both that the news articles do not sufficiently disclose any fraud by the

                                  11   Shaw Defendants and that any such disclosures are not substantially similar to his allegations. As

                                  12   the Ninth Circuit has explained, the public disclosure bar in the False Claims Act “uses the terms
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                                  13   ‘allegations’ and ‘transactions’ without defining either term. Mateski, 816 F.3d at 570-71 (quoting

                                  14   31 U.S.C. § 3730(e)(4)(A)). However, the court explained that “[c]ourts have interpreted

                                  15   ‘allegation’ to refer to a direct claim of fraud, and ‘transaction’ to refer to facts from which fraud

                                  16   can be inferred.” Id. at 571. Under the public disclosure bar “[t]he substance of the disclosure . . .

                                  17   need not contain an explicit ‘allegation’ of fraud, so long as the material elements of the allegedly

                                  18   fraudulent ‘transaction’ are disclosed in the public domain.” Id. (quoting United States ex rel.

                                  19   Found. Aiding The Elderly v. Horizon W., Inc., 265 F.3d 1011, 1014 (9th Cir. 2001)). “[O]nce the

                                  20   government knows the essential facts of a fraudulent scheme, it has enough information to

                                  21   discover related frauds.” U.S. ex rel. Lujan v. Hughes Aircraft Co., 243 F.3d 1181, 1189 (9th Cir.

                                  22   2001) (citations omitted). A “natural understanding” of the government’s investigation of claims

                                  23   under the False Claims Act is that once the United States becomes “aware of a wide-reaching

                                  24   alleged fraud, . . . , it investigate[s] all of those claims . . . .” U.S. ex rel. Bennett v. Biotronik, Inc.,

                                  25   2016 WL 1587215 at *6 (E.D. Cal. April 20, 2016).

                                  26           “[F]or a relator’s allegations to be based upon a prior public disclosure, the publicly

                                  27   disclosed facts need not be identical with, but only substantially similar to, the relator’s

                                  28   allegations.” Solis, 885 F.3d at 625 (citing Mateski, 816 F.3d at 573). Allegations in a complaint
                                                                                             5
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                                   1   are “substantially similar” to a prior disclosure “when the prior public disclosure put the

                                   2   government ‘on notice to investigate the fraud before the relator filed his complaint.’” Id.

                                   3   (quoting Mateski, 816 F.3d at 574).

                                   4           The first article at issue, “Treasure Island Radiation More Widespread than Reported”,

                                   5   states that the California Department of Public Health expressed alarm that “earlier studies

                                   6   showing fewer radioactive sites led to a botched cleanup effort and the potential spread of

                                   7   contaminants both on and off the island.” (Dkt. No. 256-1, Ex A.) State regulators had “pressed

                                   8   for details after cleanup workers found radioactive waste in unexpected locations.” (Id.) As the

                                   9   article further explained, “[s]ince 1993, the Navy has been preparing the site for handoff to the

                                  10   city, which has agreed to pay $105 million for it. To protect the city from future liability, the deal

                                  11   requires a signoff from state health officials. Those officials have raised questions about exposure

                                  12   for residents of the island.” (Id.) The article noted that a “Navy contractor recently dumped
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                                  13   debris from the two training sites into an undisclosed landfill, . . . then declared the training site

                                  14   clean without testing for radiation.” (Id.) The article also stated that a civilian cleanup worker had

                                  15   been exposed to the maximum radiation dosage allowed under the Nuclear Regulatory

                                  16   Commission guidelines. (Id.) Finally, the article explained that state public health officials issued

                                  17   Shaw a notice of violation “for repeatedly digging, piling, spreading and transporting dirt from

                                  18   sites contaminated with toxic chemicals.” (Id.)

                                  19           The second article, “Alarming Radiation Levels Found on Treasure Island”, also references

                                  20   the notice of violation issued to Shaw:

                                  21                   very little information has been publicly released on the eight
                                                       hundred-plus truckloads of radiologically contaminated soil that were
                                  22                   shipped off the island in recent years. Shaw Environmental, the
                                                       Navy’s lead private contractor, has received a Notice of Violation
                                  23                   from the California Department of Public Health for its failure to
                                                       properly collect and record this data.
                                  24
                                       (Dkt. No. 256-2, Ex. B.)
                                  25
                                               The third article, “Doesn’t the Navy know the Boys and Girls Club left toxic Treasure
                                  26
                                       Island?”, under the subheading “Why did the little dump truck run away?”, details a car tailing a
                                  27
                                       truck hired by Chicago Bridge and Iron, Shaw’s predecessor, carting toxic dirt from one site and
                                  28
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                                   1   appearing to attempt to covertly dump the toxic dirt at another site. (Dkt. No. 256-3, Ex. C.) The

                                   2   article questions whether what the truck driver was doing was legal and states “[s]peculation is

                                   3   that the driver of the truck and his [Chicago Bridge and Iron] bosses who sent him mean to dump

                                   4   the chemical-rich dirt in secret.” (Id.) Then, under the subheading “What the Navy doesn’t

                                   5   know”, states that the Navy’s toxic clean-up director had been in discussions with the Boys and

                                   6   Girls Club and the efforts to clean up the toxic soil by the Club. However, the site with the Boys

                                   7   and Girls Club is the site where the Chicago Bridge and Iron truck surreptitiously dumped the

                                   8   toxic soil. (Id.) The article poses questions about why the truck removed radioactive and

                                   9   chemically contaminated soil from one known toxic site and then transported and dumped the soil

                                  10   on a site being cleaned and whether the Navy was aware of this and/or concealed these facts from

                                  11   the public. (Id.) The article further questions “[w]hat inspired the driver of the truck carrying

                                  12   toxic dirt to evade a tracking vehicle by futilely driving behind a transparent tarpaulin – and, like
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                                  13   an ostrich hiding its head in the sand, dump his virulent load?” (Id.)

                                  14          The fourth article, “Workers Allege Hunters Point Dirt Needs to be Screened for

                                  15   Radiation”, was published after McLaughlin filed his first complaint but before he amended his

                                  16   complaint to include Treasure Island. (Dkt. No. 256-4, Ex. D.) Therefore, this article is relevant

                                  17   only to McLaughlin’s allegations regarding Treasure Island. The article states that workers are

                                  18   voicing serious concerns about exposure to radiation and whether the soil is being treated for

                                  19   radiological contamination. (Id.) Sources stated that the soil was being dug up and taken out

                                  20   without being tested for radiation first. (Id.) Another source stated that workers were not being

                                  21   monitored for potential exposure. (Id.) An investigative unit observed a truck full of dirt being

                                  22   taken to a landfill that is not authorized to accept radiologically impacted soil. (Id.)

                                  23          McLaughlin points to paragraph 7 in his TAC to describe the substance of his allegations

                                  24   against the Shaw Defendants. (Dkt. No. 259 (McLaughlin’s Supplemental Brief) at pp.8-12.)

                                  25   McLaughlin alleges that the Shaw Defendants: (1) failed to properly calibrate machines that test

                                  26   radiation levels at Hunters point, (2) failed to test machines, persons and equipment for

                                  27   radiological contamination at Hunters Point, (3) hired underqualified radiological controls

                                  28   technicians for Hunters Point and Treasure Island, (4) altered or falsified radiological
                                                                                          7
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                                   1   measurements at Hunters Point, (5) designed and intentionally failed to correct inadequate surface

                                   2   surveys of radiologically contaminated areas at Hunters Point, and (6) failed to remove identified

                                   3   radioactive contamination on Parcel E-2 and failed to inform the Navy of this radioactive

                                   4   contamination at Hunters Point. (Dkt. No. 61 (TAC) at ¶¶ 7(B), (C), (D), (E), and (J).

                                   5   McLaughlin then summarizes the fraud at Treasure Island to include fraudulently reporting,

                                   6   storing, and shipping radioactive substances at Treasure Island, including by scrubbing

                                   7   radiological records and secretly removing radiological substances. (Id. at ¶ 7(K).) At Hunters

                                   8   Point, McLaughlin alleges that the Shaw Defendants also secretly stored and removed radioactive

                                   9   substances in violation of the contractual reporting requirements, including by secretly storing and

                                  10   shipping radioactive substances and scrubbing the records. (Id.)

                                  11          The Court find that these articles disclose that the Navy contractors, including Shaw and its

                                  12   predecessor, Chicago Bridge and Iron, failed to comply with the testing protocols for the
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                                  13   radiologically contaminated soil, including by transporting the soil without testing it, failing to

                                  14   protect and test workers, and failing to safely clean and remove the contaminated soil. The articles

                                  15   also imply that these facts were hidden from the Navy, which, if true, would amount to fraud.

                                  16   Although McLaughlin’s allegations regarding the testing, removal, and transportation of the soil

                                  17   go into more detail, they are not different in nature from the facts disclosed by the articles. In

                                  18   other words, the Court finds that these articles would have put the Navy on notice to investigate

                                  19   the alleged fraud. Therefore, these allegations are barred by the public disclosure doctrine unless

                                  20   McLaughlin sufficiently alleges that he is an original source.

                                  21          However, in addition to the allegations described above, McLaughlin also alleges that the

                                  22   Shaw Defendants: (1) failed to implement waste-water removal and treatment systems in the

                                  23   excavation areas near the bay, thus allowing unrestricted drainage of accumulated contaminated

                                  24   water into the San Francisco Bay from Hunters Point; (2) performing trench scanning for

                                  25   radioactive contamination contrary in violation of the plans and procedures by failing to remove

                                  26   water from trenches prior to radiological scanning, scanning over standing water in trenches, and

                                  27   scanning by submerging scanning probes under standing water in trenches on Parcel D-1 at

                                  28   Hunters Point; (3) directing employees to exclude references to the standing water in their work
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                                   1   reports submitted to the Navy for Hunters Point; (4) breaking down barriers that block the

                                   2   radiological and chemical contaminated water from entering the San Francisco Bay in violation of

                                   3   the legal and contractual obligations; and (5) disregarding OSHA safety standards on the handling

                                   4   and disposal of asbestos at Hunters Point. (Dkt. No. 61 at ¶¶ 7(A), (F), (H), and (I). The Court

                                   5   finds that these allegations are not sufficiently similar to the facts disclosed by the above articles.

                                   6   The Court, thus, holds that McLaughlin’s allegations regarding water and asbestos are not barred

                                   7   by the public disclosure doctrine.

                                   8                          b.      Original Source.
                                   9          With respect to the allegations that the Court finds were disclosed by the articles,

                                  10   McLaughlin can only bring his false claim act based on these allegations if he alleges sufficient

                                  11   facts which, if true, would demonstrate that he was an “original source.” The statute defines an

                                  12   “original source” as an individual who voluntarily discloses to the Government the information on
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                                  13   which the allegations or transactions in a claim are based before the information was publicly

                                  14   disclosed. See 31 U.S.C. § 3730(e)(4)(B)(i). Alternatively, an individual is considered an

                                  15   “original source” if he or she has knowledge that is “is independent of and materially adds to the

                                  16   publicly disclosed allegations or transactions” and voluntarily provides this the information to the

                                  17   Government before filing the false claim act lawsuit. See 31 U.S.C. § 3730(e)(4)(B)(ii).

                                  18          To be an “original source”, the individual must have “true knowledge” of the fraudulent

                                  19   scheme, “as opposed to guesswork or suspicion[.]” Prather v. AT&T, Inc., 847 F.3d 1097, 1104

                                  20   (9th Cir. 2017). McLaughlin alleges generally that he worked at Hunters Point from June 2010 to

                                  21   August 2012 for Shaw and that he was assigned to oversee soil sampling, packaging, and

                                  22   documenting soil sampling. (Dkt. No. 61 at ¶ 12.) He further alleges generally that he observed

                                  23   “numerous improper practices that had the potential to lead to the release of toxic materials into

                                  24   the surrounding environment”. (Id.) He explains that he and his counsel have also conducted

                                  25   independent investigations that have “revealed false statements and false claims for payment

                                  26   involving remediation.” (Id.; see also id. at ¶ 251 (alleging generally that McLaughlin’s

                                  27   knowledge obtained “through his own investigation and that of his agents” that is independent of

                                  28   and adds to the public information regarding “false work” and that he disclosed this information to
                                                                                          9
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                                   1   the government before filing his First Amended Complaint).) These generalized allegations are

                                   2   woefully inadequate to set forth sufficient facts to show what specifically McLaughlin knew and

                                   3   when he disclosed such facts to the government. In the absence of such allegations, McLaughlin

                                   4   fails to allege that he disclosed the facts underlying the allegations or transactions disclosed by the

                                   5   articles before the articles were published or that he had knowledge that was independent of and

                                   6   materially added to the publicly disclosed allegations or transactions that he disclosed to the

                                   7   government before filing his complaint.2 Thus, McLaughlin’s allegations regarding failures to

                                   8   properly calibrate machines, (2) failing to test machines, persons and equipment for radiological

                                   9   contamination, hiring underqualified radiological controls technicians, altering or falsifying

                                  10   radiological measurements, designing inadequate surface surveys of radiologically contaminated

                                  11   areas, failing to remove identified radioactive contamination, and fraudulently reporting, storing,

                                  12   and shipping radioactive substances as summarized in paragraphs 7(B), (C), (D), (E), (J), and (K)
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                                  13   in his TAC are barred by the public disclosure doctrine. However, despite the age of this case and

                                  14   the number of times McLaughlin has already amended, the Court will provide McLaughlin with

                                  15   one last opportunity to amend his allegations.

                                  16                  ii.     Failure to State a Claim.
                                  17          As discussed above, the Court finds that McLaughlin’s allegations regarding water and

                                  18   asbestos are not barred by the public disclosure doctrine. Therefore, the Court will address

                                  19   whether McLaughlin sufficiently alleges his False Claims Act claim to the extent it is premised on

                                  20   his allegations regarding water and asbestos.

                                  21          Defendants argue that Plaintiff fails to allege sufficient facts to state a claim under the

                                  22   False Claims Act. To state a claim under the False Claims act, a relator must allege: “(1) a false

                                  23   statement or fraudulent course of conduct, (2) made with scienter, (3) that was material, causing

                                  24
                                              2
                                  25            McLaughlin filed a declaration from his counsel to further describe in a general manner
                                       the timing and substance of what was disclosed to the government. (Dkt. No. 259-1 (Declaration
                                  26   of David Anton).) However, the Court may not consider these factual statements on a motion to
                                       dismiss. Additionally, the Court notes that McLaughlin’s counsel describes personal interviews
                                  27   that counsel conducted. McLaughlin does not provide any authority that information discovered
                                       by counsel may be attributed to McLaughlin to support his “original source” allegations.
                                  28   Nevertheless, because the Court finds that McLaughlin’s allegations in his TAC are insufficient,
                                       the Court need not determine at this time whether a counsel’s knowledge may be considered.
                                                                                       10
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                                   1   (4) the government to pay out money or forfeit moneys due.” United States Ex Rel. Rose v.

                                   2   Stephens Inst., 909 F.3d 1012, 1017 (9th Cir. 2018).

                                   3           “Evidence of an actual false claim is ‘the sine qua non of a False Claims Act violation.’”

                                   4   United States ex rel. Aflatooni v. Kitsap Physicians Serv., 314 F.3d 995, 1002 (9th Cir. 2002); see

                                   5   also United States ex rel. Cafasso, v. Gen. Dynamics C4 Sys., Inc., 637 F.3d 1047, 1055 (9th Cir.

                                   6   2011) (“It seems to be a fairly obvious notion that a False Claims Act suit ought to require a false

                                   7   claim. The FCA attaches liability, not to the underlying fraudulent activity or to the government’s

                                   8   wrongful payment, but to the claim for payment.” (cleaned up) (quotation marks and citations

                                   9   omitted).

                                  10           Moreover, an entity’s “misrepresentation about compliance with a statutory, regulatory, or

                                  11   contractual requirement must be material to the Government’s payment decision in order to be

                                  12   actionable under the False Claims Act.” Universal Health Servs., Inc. v. United States ex rel.
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                                  13   Escobar, 579 U.S. 176, 192 (2016). “The materiality standard is demanding.” Id. at 194; see also

                                  14   id. at 195 n.6 (describing materiality standard as “rigorous”). As the Supreme Court explained:

                                  15                  A misrepresentation cannot be deemed material merely because the
                                                      Government designates compliance with a particular statutory,
                                  16                  regulatory, or contractual requirement as a condition of payment. Nor
                                                      is it sufficient for a finding of materiality that the Government would
                                  17                  have the option to decline to pay if it knew of the defendant’s
                                                      noncompliance. Materiality, in addition, cannot be found where
                                  18                  noncompliance is minor or insubstantial. . . .
                                  19   Id. at 194.

                                  20           With respect to scienter, “[t]he requisite intent is the knowing presentation of what is

                                  21   known to be false, as opposed to innocent mistake or mere negligence. Bad math is no fraud,

                                  22   proof of mistakes is not evidence that one is a cheat, and the common failings of engineers and

                                  23   other scientists are not culpable under the Act.” United States v. Bourseau, 531 F.3d 1159, 1167

                                  24   (9th Cir. 2008) (internal quotation marks and citations omitted).

                                  25           Upon review of the TAC, the Court finds that McLaughlin fails to allege with sufficient

                                  26   particularity what the alleged false statements were, that they were made with scienter, and that

                                  27   they were material to Shaw being paid by the Navy. Although McLaughlin goes into detail as to

                                  28   Shaw’s alleged flaws with the work it conducted for the Navy, it is not clear what and/or when
                                                                                         11
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                                   1   Shaw certified its compliance with the environmental statutes, whether it was done with the

                                   2   requisite scienter, and what was material to the Navy’s payments to Shaw. Additionally, because

                                   3   the TAC includes allegations against other defendants, addresses projects at two different

                                   4   locations, and asserts multiple alleged environmental problems, including those the Court finds are

                                   5   barred by the public disclosure doctrine, the TAC is cumbersome and very difficult to follow.

                                   6   Again, although McLaughlin has already had multiple opportunities to amend his allegations, the

                                   7   Court will provide one more opportunity to file an amended pleading.

                                   8          2.      Retaliation.
                                   9          The False Claims Act protects employees from being “discharged, demoted, . . . or in any

                                  10   other manner discriminated against in the terms and conditions of employment . . . because of

                                  11   lawful acts done by the employee . . . in furtherance of an [FCA] action . . . .” 31 U.S.C. §

                                  12   3730(h). To bring a retaliation claim under the False Claims Act, a plaintiff must allege the
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                                  13   following three elements: “(1) the employee must have been engaging in conduct protected under

                                  14   the Act; (2) the employer must have known that the employee was engaging in such conduct; and

                                  15   (3) the employer must have discriminated against the employee because of her protected conduct.”

                                  16   United States ex rel. Cafasso v. Gen. Dynamics C4 Sys., Inc., 637 F.3d 1047, 1060 (9th Cir. 2011)

                                  17   (quoting U.S. ex rel. Hopper v. Anton, 91 F.3d 1261, 1269 (9th Cir. 1996)). While “[s]pecific

                                  18   awareness of the FCA is not required[,] . . .the plaintiff must be investigating matters which are

                                  19   calculated, or reasonably could lead, to a viable FCA action.” Hopper, 91 F.3d at 1269. Merely

                                  20   investigating an employer’s noncompliance with state or federal regulations is insufficient to state

                                  21   a claim for retaliation under the FCA. See id. “To be covered by the False Claims Act, the

                                  22   plaintiff’s investigation must concern ‘false or fraudulent’ claims.” U.S. ex rel. Yesudian v.

                                  23   Howard Univ., 153 F.3d 731, 740 (D.C. Cir. 1998) (quoting 31 U.S.C. § 3729(a); citing Hopper,

                                  24   91 F.3d at 1269.) While McLaughlin’s TAC does contain a couple of references to complaints he

                                  25   made to Shaw, those complaints concerned Shaw’s failure to comply with environmental or

                                  26   contractual obligations and do not reference any fraudulent claims to the Navy. Accordingly,

                                  27   McLaughlin fails to allege facts sufficient to state a claim for retaliation under the False Claims

                                  28   Act. Again, the Court will provide McLaughlin with one more opportunity to amend his claims.
                                                                                         12
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                                              3.      Derivative State-Law Claims
                                   1
                                              The Shaw Defendants argue that because McLaughlin failed to adequately plead a claim
                                   2
                                       for retaliation under the False Claims Act, that McLaughlin’s state-law claims for termination in
                                   3
                                       violation of public policy and violation of the California Labor Code § 1102, which are both
                                   4
                                       premised on retaliation, fail as well. McLaughlin does not dispute that these state-law claims fail
                                   5
                                       if he fails to adequately allege a claim for retaliation under the False Claims Act. Instead,
                                   6
                                       McLaughlin merely argues that his retaliation claim under the False Claims Act is sufficiently
                                   7
                                       pled. (Dkt. No. 139 at p. 25.) Because the Court finds that McLaughlin has not plead facts
                                   8
                                       sufficient to state a claim for retaliation under the False Claims Act, McLaughlin’s derivative
                                   9
                                       state-law claims, thus, fail as well. However, as discussed above, the Court is providing
                                  10
                                       McLaughlin with one more opportunity to amend his complaint.
                                  11
                                              4.      Successor-in-Interest
                                  12
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                                              The Shaw Defendants argue that McLaughlin fails to allege sufficient facts as to Chicago
                                  13
                                       Bridge and Iron Company, Aptim Federal Services, LLC, and Aptim Corporation to hold them
                                  14
                                       liable as successors in interest to Shaw. As the Ninth Circuit explained, a company that purchases
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                                       the assets of another company is not liable as a successor in interest, unless:
                                  16
                                                      (1) The purchasing corporation expressly or impliedly agrees to
                                  17                  assume the liability;
                                  18                  (2) The transaction amounts to a “de-facto” consolidation or merger;
                                  19                  (3) The purchasing corporation is merely a continuation of the selling
                                                      corporation; or
                                  20
                                                      (4) The transaction was fraudulently entered into in order to escape
                                  21                  liability.
                                  22   Atchison, Topeka & Santa Fe Ry. Co. v. Brown & Bryant, Inc., 159 F.3d 358, 361 (9th Cir. 1997).
                                  23   In response, McLaughlin appears to argue that he sufficiently alleged a transaction between Shaw
                                  24   and the other companies that amounts to a merger. However, McLaughlin fails to point to any
                                  25   allegations in his TAC to support this argument. Therefore, the Court finds that McLaughlin fails
                                  26   to allege facts which, if true, would be sufficient to hold Chicago Bridge and Iron, Aptim Federal
                                  27   Services, LLC, or Aptim Corporation liable for Shaw’s conduct. Again, the Court will provide
                                  28   McLaughlin with one more opportunity to amend his allegations.
                                                                                         13
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                                   1                                            CONCLUSION

                                   2          For the foregoing reasons, the Court GRANTS the Shaw Defendants’ motion to dismiss

                                   3   but is providing McLaughlin with leave to amend. If he elects to file a fourth amended complaint,

                                   4   McLaughlin should take care to carefully plead only those facts that are relevant to the Shaw

                                   5   Defendants and to plead the relevant facts in a more streamlined fashion. While McLaughlin

                                   6   needs to allege additional information regarding what the Navy knew when, what McLaughlin

                                   7   disclosed to the Navy, and about what McLaughlin complained to the Shaw Defendants,

                                   8   McLaughlin need not go into such detail about every alleged mistake, error, or misconduct

                                   9   purportedly committed by the Shaw Defendants. The Court notes that McLaughlin’s TAC is 119

                                  10   pages and contains 316 paragraphs, many of which have multiple subparts. Pleading in such

                                  11   excessive detail makes the complaint overly cumbersome and very difficult to follow.

                                  12          The Court HEREBY SETS a Further Case Management Conference for March 18, 2025 at
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                                  13   1:30 p.m. The parties shall file an updated joint case management statement by no later than

                                  14   March 11, 2025.

                                  15          IT IS SO ORDERED.

                                  16   Dated: November 19, 2024

                                  17                                                  ______________________________________
                                                                                      SALLIE KIM
                                  18                                                  United States Magistrate Judge
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